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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS


                                               )
Jacqueline Harris,                             )
                                               )
       Plaintiff,                              )
                                               )
v.                                             )       Case No. 05-cv-12401-JLT
                                               )
NovaStar Mortgage, Inc., and                   )
Best Rate Funding, Corporation                 )
                                               )
       Defendants.                             )
                                               )

                                STIPULATION OF DISMISSAL

       The parties stipulate, pursuant to Fed. R. Civ. P. 41(a)(1)(ii), that this action shall

be dismissed, with prejudice, as to all claims which were or could have been raised

herein, that each party shall bear its own costs, and that all rights to appeal are waived.


                                                       Respectfully submitted,
                                                       Jacqueline Harris,

                                                       By her attorneys,



                                                       /s/ Shennan Kavanagh
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